       Case 1:17-cr-00229-AT-CMS Document 57 Filed 11/29/17 Page 1 of 5




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


   U NITED S TATES OF A MERICA
         v.                                 Criminal Action No.
   J ARED W HEAT ,                          1:17-CR-0229-AT-CMS
   J OHN B RANDON S CHOPP , AND
   H I -T ECH P HARMACEUTICALS ,
   I NC .


                   UNITED STATES’ REPLY REGARDING
                   POTENTIAL ATTORNEY CONFLICTS


   The United States of America, by Byung J. Pak, United States Attorney, and

Steven D. Grimberg, Assistant United States Attorney for the Northern District of
Georgia, submits this Reply to Mr. Bruce Harvey’s Response to the United States’
Notice Regarding Potential Conflicts.1

   The Government agrees that a Court inquiry similar to a Rule 44 hearing is
appropriate, however, Rule 44 addresses the joint representation of two or more
defendants, not the situation here which is the joint representation of a defendant

   1 Counsel for the United States has requested but to date not received copies
of any other under seal filings made by defense counsel to the Government’s
notice regarding potential conflicts. Mr. Lietz explained in response to the
Government’s request that his submission contains information concerning his
client’s potential defense that he (rightfully) does not wish to share with
undersigned counsel at this time. If the Court wishes for the Government to
reply to any of the remaining filings, it requests that the Court order defense
counsel to provide service copies to the Government, in redacted or revised form
if necessary to protect privilege.
       Case 1:17-cr-00229-AT-CMS Document 57 Filed 11/29/17 Page 2 of 5




and a government witness. As Rule 44(c)(2) states, “[u]nless there is good cause
to believe that no conflict of interest is likely to arise, the court must take

appropriate measures to protect each [client’s] right to counsel.” (Emphasis
supplied.)
   As the Government explained in its initial filing, C.S. is considered a subject
of the investigation, which means that his conduct is within the scope of the
grand jury’s investigation and circumstances could arise where he would be
charged. This is the very reason that Mr. Harvey, in the course of representing

C.S., negotiated his interview with the Government under the terms of a “use
immunity” agreement in lieu of grand jury testimony.2
   Although the Government agrees that both defendant Wheat and C.S. should

obtain the advice of independent counsel before waiving any potential conflict,
some conflicts cannot be waived. See United States v. Scott, 2007 WL 2121644
(N.D. Ga. Jul. 24, 2007). Citing Georgia Rule of Professional Conduct 1.7(c), the

Court declined to accept a proffered waiver between a defendant and a
government witness, where the witness was hoping to receive Rule 35
cooperation credit from the government for his testimony:




   2 It is not “illegal” but rather entirely appropriate for the Government to
continue its grand jury investigation into presenting additional charges against
the current defendants, as well as additional defendants, one of whom could be
C.S. if the evidence presents itself.
                                            2
       Case 1:17-cr-00229-AT-CMS Document 57 Filed 11/29/17 Page 3 of 5




   The court cannot imagine a more dangerous conflict than that under which
   Kennedy and Corso are laboring: their firm represents the defendant being
   sentenced, but it also represents a government witness that hopes to
   receive a Rule 35(b) motion for his efforts. The clients are adverse, and the
   goals of both are antagonistic; the firm’s loyalty is necessarily split. The
   representation “involves circumstances [that] render [ ] it reasonably
   unlikely that the lawyer will be able to provide adequate representation to
   ... the affected clients.” Ga. R. Prof. Con. 1.7(c). Accordingly, defendant
   may not waive this conflict.


Scott, 2007 WL at *2. The circumstances here are replete with scenarios that make

it very difficult for Mr. Harvey to provide adequate representation to both of his
affected clients.3 For example, if C.S. has information or evidence that implicates
Wheat, it may be in his best interest to cooperate with the Government and

negotiate the terms of his own potential exposure. But the Government will not
be able to communicate with C.S., a Government witness, without the
defendant’s counsel, Mr. Harvey, present. How can Mr. Harvey provide conflict-

free advice to C.S. about the pros and cons of cooperating with the Government
without impacting his representation of Wheat? And as Mr. Harvey sits in on
these potential debriefs with C.S., is he gathering information to assist C.S., or
assist Wheat?
   Even assuming that Mr. Harvey offers to no longer represent C.S. in these
proceedings, Mr. Harvey may have information from his previous attorney-client
relationship with C.S. that may be helpful in cross-examining C.S. as a



   3It is unclear from Mr. Harvey’s filing whether he intends to continue
representing C.S. through the course of these proceedings.
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      Case 1:17-cr-00229-AT-CMS Document 57 Filed 11/29/17 Page 4 of 5




government witness. Mr. Harvey has offered to allow Mr. Wheat’s other counsel
to cross-examine C.S., but this begs the question, raised in the Government’s

initial filing, concerning any joint defense or other agreements that Mr. Harvey
may have with his co-counsel. By not cross examining C.S. himself, or by
declining to share information he learned during his represention of C.S. to his
co-counsel, Mr. Harvey may be foregoing a cross-examination inquiry that
would be helpful to defendant Wheat.
   The Government urges the Court to require both C.S. and Wheat to obtain the

advice of independent counsel before conducting a Rule 44 hearing and
accepting any waiver. The independent counsel should not be any attorney
representing any defendant or witness in this case. In determining whether to
accept any waiver, the Government urges the Court to inquire about the nature
of the financial arrangements between Wheat and C.S., including whether Wheat
has paid the legal fees of Bruce Harvey to represent C.S. The Court should also

inquire about the terms of any joint defense agreements, formal or informal,
between Mr. Harvey and Wheat’s other counsel, and how that may impact Mr.
Harvey’s decision to disclose or not disclose information he gathered during his
representation of C.S. that could be helpful or detrimental to Wheat.




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      Case 1:17-cr-00229-AT-CMS Document 57 Filed 11/29/17 Page 5 of 5




                             Certificate of Service

The United States Attorney’s Office served this document today by filing it using
the Court’s CM / ECF system, which automatically notifies the parties and counsel

of record.


November 29, 2017

                                            /s/ S TEVEN D. G RIMBERG
                                            S TEVEN D. G RIMBERG
                                            Assistant United States Attorney




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